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  1   GORDON REES SCULLY MANSUKHANI, LLP
      HAZEL MAE B. PANGAN (SBN: 272657)
  2   hpangan@grsm.com
      101 W. Broadway, Suite 2000
  3   San Diego, CA 92101
      Telephone: (619) 230-7479
  4   Facsimile: (619) 696-7124
  5   DAMON W.D. WRIGHT
      (pro hac vice application to be filed)
  6   dwright@grsm.com
      1101 King St., Suite 520
  7   Alexandria, VA 22314
      Telephone: (202) 399-1009
  8   Facsimile: (202) 800-2999
  9   Attorneys for Defendants
      The Control Group Media
 10   Company, Inc., Instant Checkmate, LLC,
      and TruthFinder, LLC
 11
 12                        UNITED STATES DISTRICT COURT
 13                      SOUTHERN DISTRICT OF CALIFORNIA
 14
 15   CHRISTOPHER BENTLEY; NICHOLAS                  CASE NO. 19-cv-2437 DMS RBB
      LONGO; HENDRY IDAR III; VINCENT
 16   HARDY; JESUS SANCHEZ; and
      TARYN MITCHELL, on behalf of                   DEFENDANTS’
 17   themselves and of others similarly situated,   CONSOLIDATED NOTICE OF
                                                     MOTION AND MOTION TO
 18                             Plaintiffs,          COMPEL ARBITRATION
 19                        v.
 20   THE CONTROL GROUP MEDIA                        Hearing
      COMPANY, INC.; INSTANT
      CHECKMATE, LLC; TRUTHFINDERS,                  Date:         April 10, 20201
 21
      LLC,                                           Time:         1:30 p.m.
 22                                                  Courtroom:    13A
                                Defendants.
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      1
 26    Pursuant to the Court’s Order Setting Briefing Schedule, ECF No. 7, Plaintiffs
      shall file their response to Defendants’ instant motion on or before March 25,
 27   2020, and Defendants may file a reply on or before April 1, 2020. The Court will
 28   decide the matter on the briefs unless otherwise ordered.

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             DEFENDANTS’ CONSOLIDATED MOTION TO COMPEL ARBITRATION
                                     Case 3:19-cv-02437-DMS-RBB Document 9 Filed 03/11/20 PageID.74 Page 2 of 3



                                       1                        NOTICE OF MOTION AND MOTION
                                       2           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                       3         PLEASE TAKE NOTICE THAT, on April 10, 2020 at 1:30 p.m. before the
                                       4   Honorable Dana M. Sabraw, United States District Judge, in Courtroom 13A, 13th
                                       5   floor of the U.S. District Court for the Southern District of California, located at
                                       6   James M. Carter and Judith N. Keep United States Courthouse, 333 West
                                       7   Broadway, San Diego, CA 92101, Defendants, by counsel, will move this Court
                                       8   for an order compelling Plaintiffs to arbitrate their claims on an individual basis.
                                       9   Defendants bring this Motion on the grounds that the Federal Arbitration Act, 9
                                      10   U.S.C. §§ 1-16, requires mandatory arbitration of Plaintiffs’ claims. This Motion
                                      11   is based on this Notice of Motion and Motion, the following Memorandum of
Gordon Rees Scully Mansukhani, LLP




                                      12   Points and Authorities, the accompanying Declarations of Andrew Johnson and
   101 W. Broadway, Suite 2000
       San Diego, CA 92101




                                      13   Damon W.D. Wright, and exhibits thereto, the complete files and records in this
                                      14   action, and such further evidence and argument the Court might allow.
                                      15                                          Respectfully submitted,
                                      16   Dated: March 11, 2020                  GORDON REES SCULLY
                                                                                  MANSUKHANI, LLP
                                      17
                                      18                                          By: /s/ Hazel Mae B. Pangan
                                      19                                              Hazel Mae B. Pangan
                                                                                      Damon W.D. Wright
                                      20                                              Attorneys for Defendants
                                      21                                              THE CONTROL GROUP MEDIA
                                                                                      COMPANY, LLC, INSTANT
                                      22                                              CHECKMATE, LLC,
                                      23                                              TRUTHFINDER, LLC
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                                                  DEFENDANTS’ CONSOLIDATED MOTION TO COMPEL ARBITRATION
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                                         1                             CERTIFICATE OF SERVICE
                                         2         I hereby certify that on March 11, 2020, a copy of the foregoing document
                                         3   was filed electronically with the Clerk of the Court using the Court’s CM/ECF
                                         4   electronic filing system, which will send an electronic copy of this filing to all
                                         5   counsel of record.
                                         6
                                                                                     /s/ Hazel Mae B. Pangan
                                         7                                           Hazel Mae B. Pangan
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  Gordon Rees Scully Mansukhani, LLP




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     101 W. Broadway, Suite 2000
         San Diego, CA 92101




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                                                    DEFENDANTS’ CONSOLIDATED MOTION TO COMPEL ARBITRATION
